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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
         In re:
                                                                            Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES, LLC,
         et al.,1                                                           (Jointly Administered)

                                            Debtors.


         LISE DE LA ROCHELLE, et al.,

                                            Plaintiffs,
                                                                            Adversary Proceeding
                                 vs.                                        Case No. 18-50371 (KJC)

         WOODBRIDGE GROUP OF COMPANIES, LLC,
         et al.,

                                            Defendants.




                      MEMORANDUM OF LAW IN SUPPORT OF DEBTORS’ MOTION
                       TO DISMISS COMPLAINT FOR DECLARATORY JUDGMENT




         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.


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                  Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in

         possession (collectively, the “Debtors”), some or all of which are defendants in the above-

         captioned adversary proceeding (the “Adversary Proceeding”),2 hereby submit this

         Memorandum of Law in support of their motion (the “Motion”) for entry of an order dismissing

         the Complaint for “failure to state a claim upon which relief can be granted,” FRCP 12(b)(6); see

         FRBP 7012.

                                                      I. INTRODUCTION3

                  1.       This Adversary Proceeding concerns “the real property located at 141 South

         Carolwood Drive, Holmby Hills, California” (the “Owlwood Property”), see Compl. ¶ 55, which

         the Plaintiffs admit is owned by Sturmer Pippin Investments, LLC (“Sturmer Pippin”), one of the

         Debtors, see id. ¶¶ 58–60. The Plaintiffs claim to have lent funds to Woodbridge Mortgage

         Investment Fund 3A, LLC (“Fund 3A”), also one of the Debtors, which the Plaintiffs claim in

         turn lent funds to Sturmer Pippin, the owner of the Owlwood Property. See id. ¶¶ 47–48, 53, 55–

         58, 65. In connection with their loans to Fund 3A, the Plaintiffs claim to have been granted

         certain security interests by Fund 3A. See Compl. ¶¶ 61, 66, 69. Nowhere in their Complaint do



         2
                  There is uncertainty as to precisely which Debtors are defendants in the Adversary Proceeding given the
         non-compliance by the plaintiffs (the “Plaintiffs”) with Rule 10(a) of the Federal Rules of Civil Procedure
         (“FRCP”), made applicable herein by Rule 7010 of the Federal Rules of Bankruptcy Procedure (“FRBP”). In
         violation of the requirement that the caption of an initial pleading such as a complaint “name all the parties,” FRCP
         10(a) (emphasis added), Plaintiffs’ Complaint for Declaratory Judgment that Plaintiffs are Secured Creditors of the
         Debtors with a Valid, Perfected, First Priority Lien in Certain Real Property, and/or Proceeds from Sale of Certain
         Real Property [Adv. Docket No. 1] (the “Complaint”) identifies the defendants only as “Woodbridge Group of
         Companies, LLC, et al.” in both the caption and the body, see Compl. ¶ 17. Myles v. United States, 416 F.3d 551,
         551 (7th Cir. 2005) (“to make someone a party the plaintiff must specify him in the caption”).
         3
                   The Complaint is built on a fiction: that the documents the Plaintiffs received and the representations made
         to them were consistent with the underlying transactions and that the money they invested was actually channeled
         directly into the property in which they thought they were investing. The reality is vastly different. However, solely
         for purposes of the Motion, the Debtors assume that the documents on which the Complaint relies accurately reflect
         the transactions described and referred to therein. To be clear, that the Debtors are engaging the Plaintiffs’ theories
         on the Plaintiffs’ terms is not and should not be deemed or construed to be an admission as to the occurrence, nature,
         or character of these or any other transactions.


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         the Plaintiffs claim that they lent any money to Sturmer Pippin (the owner of the Owlwood

         Property), or that Sturmer Pippin granted them any security interest.

                2.      Based on the foregoing allegations, the Plaintiffs seek a declaration that they hold

         “pre-petition valid, perfected, first priority liens” against the Owlwood Property itself (Count I),

         see Compl. ¶¶ 1 & 83–89; or, alternatively, “pre-petition valid, perfected, first priority liens

         against any and all proceeds from the sale and/or liquidation” of the Owlwood Property (Count

         II), see id. ¶ 1 & 90–96; or, alternatively, some type of “constructive trust” or “equitable lien”

         against the Owlwood Property or any proceeds therefrom (Count III), see id. ¶ 1 & 97–99.

                3.      The allegations of the Complaint, together with the facts apparent from the

         documents appended to the Complaint, see FRCP 10(c) (“A copy of a written instrument that is

         an exhibit to a pleading is a part of the pleading for all purposes.”), and the facts of which the

         Court may properly take judicial notice under Rule 201 of the Federal Rules of Evidence

         (“FRE”), demonstrate that the Plaintiffs are not entitled to any of the three alternative

         declarations they seek.

                4.      First, by the Plaintiffs’ own telling, neither the owner of the Owlwood Property

         (Sturmer Pippin) nor its purported lender (Fund 3A) ever granted the Plaintiffs a lien in any real

         property. Instead, Fund 3A purported to grant the Plaintiffs a security interest in a loan that

         Fund 3A purportedly extended to Sturmer Pippin. At most, the Plaintiffs have a security interest

         in that loan—not in the Owlwood Property itself. This is fatal to Count I of the Complaint.

                5.      Second, the basis of the Plaintiffs’ claimed lien on proceeds from the Owlwood

         Property appears to be their claimed security interest in the alleged loan made by Fund 3A to

         Sturmer Pippin. Even assuming for the sake of argument that such a loan was made, and further

         assuming arguendo that a security interest in such loan could somehow translate into a security


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         interest in the proceeds of any sale of the Owlwood Property, Count II of the Complaint still fails

         because it seeks a declaration that the Plaintiffs hold a perfected security interest.4 Any security

         interest that the Plaintiffs may have is unperfected: The Plaintiffs admit that they do not possess

         the underlying loan documents, and the Court may take judicial notice of the absence of any filed

         UCC-1 financing statement.

                  6.        Finally, the two fallback theories—constructive trust and equitable lien—fail

         because the Plaintiffs do not (because they cannot) allege that their funds can be traced to the

         Owlwood Property. The absence of any nexus between the Plaintiffs’ money and the property

         over which they seek to impose a constructive trust or equitable lien is fatal to the equitable

         remedies at issue. Even assuming, arguendo, that the Plaintiffs could properly plead tracing

         under state law, Count III would still fail as a matter of federal bankruptcy law, which prohibits

         the postpetition imposition of a constructive trust or equitable lien.

                   II. STATEMENT PURSUANT TO FRBP 7012 AND LOCAL RULE 7012-1

                  7.        Pursuant to FRBP 7012(b) and Rule 7012-1 of the Local Rules of Bankruptcy

         Practice and Procedure of the United States Bankruptcy Court for the District of Delaware, the

         Debtors hereby consent to entry of a final order or judgment by this Court.




         4
                   Plaintiffs’ use of the term “perfected” is no accident, as perfection is critical to defeating the rights of a
         trustee or debtor-in-possession. 11 U.S.C. § 544(a)(3) (real property); DEL. CODE ANN. tit. 6, § 9-317(a)(2)
         (personal property); 5 COLLIER ON BANKRUPTCY ¶ 544.03 (Alan N. Resnick & Henry J. Sommer, eds., 16th ed.
         2018) (same).


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                                                     III. BACKGROUND5

                  8.       Sturmer Pippin owns the Owlwood Property. Compl. ¶ 59. The Plaintiffs are not

         in contractual privity with Sturmer Pippin and are not creditors of Sturmer Pippin. See generally

         id. ¶¶ 55–71 (describing contracts between Plaintiffs and Fund 3A) & Exs. 1 & 2 (exemplary

         loan and collateral documents between Plaintiffs and Fund 3A). Instead, they are at most only

         lenders to Sturmer Pippin’s lender, Fund 3A. See id.

                  9.       By the Plaintiffs’ telling, Fund 3A made a $63 million loan to Sturmer Pippin (the

         “Pledged Loan”), which loan was secured by a first lien on the Owlwood Property in favor of

         Fund 3A. The Plaintiffs, in turn, made their own loans (the “Noteholder Loans”) to Fund 3A

         “for the stated purpose” of funding the loan from Fund 3A to Sturmer Pippin. See Compl.

         ¶¶ 57–58. The Plaintiffs do not allege that Fund 3A actually used the funds raised from the

         Plaintiffs in a manner consistent with this “stated purpose.” The Complaint contains no

         allegations regarding how the Debtors actually used or disposed of the funds they received from

         the Plaintiffs.

                  10.      The Plaintiffs entered into written loan agreements (the “Noteholder Loan

         Agreements”) with Fund 3A, and Fund 3A executed promissory notes in favor of the Plaintiffs

         (the “Notes” and, together with the Noteholder Loan Agreements, the “Noteholder Loan

         Documents”).6 Sturmer Pippin is not a signatory to any of the Noteholder Loan Documents.


         5
                  Consistent with the FRCP 12(b)(6) standard, the factual background set out in this section is based solely
         on the well-pled allegations set forth in the Complaint, including the documents appended thereto, as well as matters
         of which the Court may take judicial notice pursuant to FRE 201. See generally Schmidt v. Skolas, 770 F.3d 241,
         249–50 (3d Cir. 2014) (“‘To decide a motion to dismiss, courts generally consider only the allegations contained in
         the complaint, exhibits attached to the complaint and matters of public record.’” (quoting Pension Ben. Guar. Corp.
         v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993)). The Debtors dispute many of the facts alleged,
         but accept them as true solely for purposes of the Motion, as FRCP 12(b)(6) requires.
         6
                An exemplar Noteholder Loan Agreement and associated Note are attached as Exhibits 1 and 2 to the
         Complaint.


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                11.     Pursuant to the Noteholder Loan Agreements, Fund 3A purported to grant the

         Plaintiffs security interests in: (i) the Pledged Loan; (ii) the promissory note evidencing the

         Pledged Loan (the “Underlying Note”); (iii) the mortgage or deed of trust securing the Pledged

         Loan with an interest in the Owlwood Property (the “Underlying Mortgage”); and (iv) title

         insurance policies and such other instruments or documentation as may be executed and

         delivered to Fund 3A in conjunction with the Pledged Loan (collectively with the Pledged Loan,

         the Underlying Note, and the Underlying Mortgage, the “Underlying Loan Documents”).

                12.     Fund 3A executed (i) an Assignment of Promissory Note and Mortgage (the

         “Note Assignment”), and (ii) a Collateral Assignment of Note, Mortgage, and Other Loan

         Documents (the “Collateral Assignment” and, together with the Note Assignment, the

         “Assignments,” unexecuted forms of which are included in Exhibit 1 to the Complaint). The

         Assignments were issued “[a]s additional security for the” Noteholder Loans. See Compl. ¶ 69;

         see also Note Assignment at p.1 (recital stating that Underlying Loan Documents are being

         assigned “as security for the [Noteholder Loan]”); Collateral Assignment, § 2 (stating that

         collateral is assigned “[a]s security for the performance of all obligations of [Fund 3A] to

         [applicable Plaintiff]”). Both of the Assignments are clear that Fund 3A shall be the party that

         will continue to receive the benefits of and exercise rights under the Underlying Loan

         Documents unless and until the occurrence of an Event of Default (as defined in the applicable

         Collateral Assignment). See Note Assignment, § 1 (Fund 3A “shall be entitled to collect all

         payments of interest and all scheduled payments of principal … on the [Underlying Loan

         Documents]” unless and until an Event of Default has occurred); Collateral Assignment, § 5

         (“[Applicable Plaintiff] hereby grants [Fund 3A] the right to continue to receive the benefits of,




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         and exercise the rights under, the Underling [Loan] Documents unless an Event of Default …

         exists[.]”).

                 13.     One final background fact of which the Court may properly take judicial notice is

         the absence of any filed UCC-1 financing statement as against Fund 3. See Stern Decl. ¶ 2 & Ex.

         A. The Complaint does not allege that there was any filed UCC-1 financing statement, and

         indisputably reliable public records confirm such absence. See generally In re Silver Dollar,

         LLC, 388 B.R. 317, 329 (Bankr. E.D. Tenn. 2008) (taking judicial notice of UCC-1 financing

         statement); cf. In re LDK Solar Sec. Litig., 584 F. Supp. 2d 1230, 1240 (N.D. Cal. 2008) (taking

         judicial notice of the lack of publicly filed restatement of financial condition).

                                     IV. APPLICABLE LEGAL STANDARD

                 14.     The question before the Court is whether the Complaint “contain[s] sufficient

         factual matter, accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft

         v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

         (2007)). In making this determination, the Court must first “peel away those allegations that are

         no more than conclusions and thus not entitled to the assumption of truth,” and then examine the

         remaining “well-pled allegations, assume their veracity, and determine whether they plausibly

         give rise to a right to relief.” Carpenters Health v. Mgmt. Res. Sys. Inc., 837 F.3d 378, 382 (3d

         Cir. 2016) (footnotes and internal quotation marks omitted). See also supra note 5 (describing

         the types of materials that may be considered on an FRCP 12(b)(6) motion to dismiss).

                                                   V. ARGUMENT

         A.      Count I Must Be Dismissed Because the Plaintiffs Do Not Hold Any Liens in Real
                 Property

                 15.     Count I of the Complaint seeks a declaratory judgment to “determine the validity,

         priority, or extent of the Plaintiffs’ liens or other interests in the Owlwood [Property].”

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         Compl. ¶ 84. In their Prayer for Relief, the Plaintiffs seek a judgment “[d]eclaring that the

         Plaintiffs hold pre-petition, valid, perfected, first priority liens against the Owlwood [Property]

         at some other time prior to the Petition Date” (emphasis added). Count I must be dismissed

         because the facts alleged in the Complaint do not plausibly support the conclusion that Plaintiffs

         hold a lien (much less a valid, perfected, first priority lien) in the Owlwood Property, and in fact

         the documents attached to the Complaint expressly refute that contention.

                16.     To have a perfected security interest in real property, the putative secured creditor

         must have a recorded mortgage or deed of trust executed in its favor and duly recorded in the

         land records as against the real property. See CAL. CIV. CODE § 1214; Hopper v. Keys, 92 P.

         1017, 1020 (Cal. 1907) (“That the recordation of the mortgage, under our present system, is one

         of the necessary and indispensable requisites to protect the rights of the mortgagee against

         creditors of the mortgagor and subsequent purchasers and encumbrancers of the property in good

         faith and for value, is a self-evident proposition.”); 8 WITKIN SUMMARY OF CAL. LAW, SECURITY

         TRANSACTIONS IN REAL PROPERTY § 55 (11th ed. 2017) (“[T]he California real property

         recording system gives priority to the person whose instrument is first recorded, if that person is

         a bona fide purchaser or encumbrancer without notice of prior interests. Any subsequently

         recorded mortgage is inferior.”). That has not occurred here and that is fatal to the Complaint’s

         first claim. The Plaintiffs acknowledge that Sturmer Pippin—not Fund 3A—is the entity that

         owns the Owlwood Property, see Compl. ¶ 59, and nowhere in the Complaint do the Plaintiffs

         allege that Sturmer Pippin granted the Plaintiffs liens in the Owlwood Property—let alone that

         any such liens were duly recorded in the land records against the Owlwood Property. To the

         contrary, the borrower under the Noteholder Loans is Fund 3A. Fund 3A does not own the

         Owlwood Property and could not and did not grant the Plaintiffs liens in the Owlwood Property.


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         Consistent with the documents attached to the Complaint, paragraph 61 of the Complaint alleges

         that the collateral for the Noteholder Loans consists of the Underlying Loan Documents and does

         not include the Owlwood Property itself.

                17.       The Plaintiffs obliquely suggest that a lien in the Owlwood Property may have

         arisen from the Assignments. See, e.g., Compl. ¶ 70 (alleging that “Fund 3A, by and through the

         Collateral Assignment intended, and did exchange to the Plaintiffs, Fund 3A’s interest in the real

         property contract between Fund 3A and Sturmer Pippen for the Owlwood Estate”); id. ¶ 71

         (alleging that “Fund 3A, by and through the Collateral Assignment, exchanged to the Plaintiffs,

         the promissory note secured by Sturmer Pippen’s lien on the Owlwood Estate”). The Plaintiffs

         appear to assert that Fund 3A transferred (or, in the Plaintiffs’ words, “exchanged”) the

         Underlying Loan Documents to the Plaintiffs such that the Plaintiffs “hold first position liens on

         the Owlwood estate….” Id. ¶ 74.

                18.       There are multiple flaws in this theory. First and foremost, it is not what the

         documents say. The terms of the documents attached to the Complaint make clear that the

         Assignments were made solely as security for the Noteholder Loans, plainly contradicting the

         Plaintiffs’ argument that there was any transfer or “exchange” of Fund 3A’s interest in the

         Underlying Loan Documents:

                      •   The form of Note Assignment attached as Exhibit B to the Noteholder
                          Loan Agreement as Exhibit B expressly states that Fund 3A is assigning
                          its interest in the Assigned Documents (as defined in the Note
                          Assignment) “as security for” the “term loan” extended by Mr. Faudel
                          to Fund 3A. Further, the Note Assignment provides that “[s]o long as no
                          Event of Default shall have occurred, Assignor [Fund 3A] shall be entitled
                          to collect all payments of interest and all scheduled payments of principal
                          … on the Assigned Documents.” Note Assignment, § 1.

                      •   The form of Collateral Assignment attached as Exhibit C to the
                          Noteholder Loan Agreement also makes clear that the Underlying Note
                          and Underlying Mortgage were assigned to Mr. Faudel “[a]s security for

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                          the performance of all obligations of Borrower [Fund 3A] to Lender
                          [Mr. Faudel] under the Note.” Collateral Assignment, § 2 (emphasis
                          added). The Collateral Assignment further provides that Fund 3A shall
                          “continue to receive the benefits of, and exercise the rights under, the
                          Underlying Documents unless an Event of Default ... exists …. Id., § 5.

                 19.      Based on the plain terms of the documents that the Plaintiffs signed, they

         provided loans to Fund 3A and were to receive a security interest in the Underlying Loan

         Documents between Fund 3A and Sturmer Pippin. The transaction documents unambiguously

         provide that the upside to each Plaintiff was capped at the stated obligations owed to it by Fund

         3A. There is no plausible claim that there was any exchange.

                 20.      Second, Article 3 of the Delaware Uniform Commercial Code,7 governs the

         transfer of “instruments” such as the Underlying Notes. See DEL. CODE ANN. tit. 6, § 3-102(a).

         Under Article 3, transfer or “negotiation” of an instrument is defined as “a transfer of

         possession … of an instrument by a person other than the issuer to a person who thereby

         becomes its holder.” Id., § 3-201(a) (emphasis added). Article 3 makes clear that “negotiation”

         (i.e., transfer of an instrument) cannot occur until both possession of the instrument is transferred

         and the instrument is endorsed in favor of the transferee. See id., § 3-201(b).

                 21.      Here, the Plaintiffs concede that they are not in possession of any of the

         Underlying Loan Documents, including the Underlying Note. See Compl. ¶¶ 43 & 75. Nor do

         they allege that the Underlying Note was endorsed to any of the Plaintiffs. In the absence of

         such delivery and endorsement, the Underlying Note was not “negotiated” to the Plaintiffs. The

         Plaintiffs’ lack of possession means that they are not “holders” of the Underlying Note under the


         7
                    The Noteholder Loan Documents attached to the Complaint reflect the parties’ agreement that Delaware
         shall govern. Under the Uniform Commercial Code, the parties’ choice-of-law provision is binding except to the
         extent that one of certain Uniform Commercial Code provisions specifies the applicable law. See DEL. CODE ANN.
         tit. 6, § 1-301(a), (c); CAL. COMM. CODE, § 1301(a), (c). Accordingly, the Article 3 analysis herein cites to the
         Delaware Uniform Commercial Code.


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         Delaware Uniform Commercial Code. See DEL. CODE ANN. tit. 6, § 1-201(20) (defining

         “holder” of a negotiable instrument as “[t]he person in possession of a negotiable instrument that

         is payable either to bearer or to an identified person that is the person in possession”). Because

         the Plaintiffs are not “holders” of the Underlying Note, they are not “person[s] entitled to

         enforce” the Underlying Note by pursuing a mortgage remedy. See id., § 3-301 (defining

         “person entitled to enforce” in pertinent part as “(i) the holder of the instrument [or] (ii) a

         nonholder in possession of the instrument who has the rights of a holder”).

                22.     The decision in Kemp v. Countrywide Home Loans, Inc. (In re Kemp), 440 B.R.

         624 (Bankr. D.N.J. 2010), is instructive. There, Countrywide filed a proof of claim in its

         capacity as servicer for the Bank of New York. Id. at 626. As of the time of the filing of the

         proof of claim, Countrywide had assigned the debtor’s mortgage to the Bank of New York, but

         Countrywide did not transfer possession of the associated note to the Bank. Id. at 629.

         Following a thorough analysis of New Jersey’s Uniform Commercial Code (which is identical in

         all material respects to the Delaware Uniform Commercial Code), the court determined that the

         fact that Bank of New York never had possession of the underlying note was fatal to its

         enforcement, notwithstanding that the note was referenced in the recorded assignment of

         mortgage. Id. at 629–30 & 633. Accordingly, the court sustained the debtor’s objection to the

         proof of claim. Id. at 634. See also In re Grant Covert, 658 F. App’x 175, 177 (3d Cir. 2016)

         (under analogous provisions of New Jersey UCC, “whoever was in possession of the note would

         become the ‘holder’ of the note, and would be entitled to enforce the note”); Bank of America,

         N.A. v. Gibson, 102 A.3d 462, 466 (Pa. Super. Ct. 2014) (analyzing analogous provisions of

         Pennsylvania’s UCC and concluding “[t]he record in this case clearly shows that Bank of

         America holds the note, and therefore” has standing to enforce the mortgage).


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                  23.      Similarly, here Fund 3A, the person in possession of the Underlying Note, is the

         holder of the Underlying Note and the only party entitled to enforce it. To be clear, the Debtors

         do not dispute that the Plaintiffs hold claims against Fund 3A pursuant to the Noteholder Loan

         Documents. However, the Plaintiffs fail to allege any plausible, enforceable claim against

         Sturmer Pippin or any lien in real property owned by Sturmer Pippin.

         B.       Count II Must Be Dismissed Because the Plaintiffs Do Not Have Perfected Security
                  Interests in the Proceeds of the Owlwood Property

                  24.      Count II seeks a judgment declaring that the Plaintiffs hold perfected liens in the

         proceeds of the Owlwood Property. See Compl. ¶¶ 90–96 & Prayer for Relief. Liberally

         construed, the Plaintiffs appear to claim a lien on proceeds from the Owlwood Property on

         account of their alleged security interest in the alleged loan made by Fund 3A to Sturmer

         Pippin.8 This argument has multiple flaws, but for purposes of the Motion, the Court need only

         determine that the Plaintiffs’ alleged security interests in the Underlying Loan Documents are

         not perfected. That conclusion is sufficient to dispose of Count II.

                  1.       The Plaintiffs Are Not Properly Perfected Under Article 9

                  25.      Under the Uniform Commercial Code, as adopted by Delaware,9 the Underlying

         Loan Documents are personal property—specifically, promissory notes and instruments—the

         8
                   Cf. Objection of Lise la Rochelle, et al. Noteholders to the Motion of the Official Committee of Unsecured
         Creditors for … Leave, Standing and Authority to Prosecute Certain Causes of Action on Behalf of Certain Debtors
         and their Estates [Bankr. Docket No. 1625] (the “Objection to Committee Standing Motion”), at ¶¶ 5-9 (asserting a
         “first priority lien in [the Owlwood Property],” but relying extensively on California Business and Professions Code
         section 10233.2, which expressly applies only for purposes of Articles 3 and 9 of the California Commercial Code).
         9
                   Under the Uniform Commercial Code, as adopted in both California and Delaware, “[e]xcept as otherwise
         provided in this section, while a debtor is located in a jurisdiction, the local law of that jurisdiction governs
         perfection, the effect of perfection or nonperfection, and the priority of a security interest in collateral.” DEL. CODE
         ANN. tit. 6, § 9-301(1); see also CAL. COMM. CODE, § 9301(1) (same). Under Article 9, a limited liability company
         is “located” in the state in which it was organized. See DEL. CODE ANN. tit. 6, §§ 9-307(e) & 9-102(a)(71); see also
         CAL. COMM. CODE, §§ 9307(e) & 9102(a)(71). Here, Fund 3A is a Delaware limited liability company, see Compl.
         ¶ 17, and thus the Delaware Uniform Commercial Code “governs perfection [and] the effect of perfection or
         nonperfection.” DEL. CODE ANN. tit. 6, § 9-301(1); see also CAL. COMM. CODE § 9301(1) (same). Furthermore, all
         of the loan documents attached to the Complaint provide that Delaware law shall govern.

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         perfection of which is governed by Article 9 of the Delaware Uniform Commercial Code.10

         Under the Delaware Uniform Commercial Code, perfection of a security interest in a promissory

         note or instrument granted to secure an obligation can only be achieved through possession of

         the note or instrument, or by the filing of a UCC-1 financing statement with respect to the

         instrument. See DEL. CODE ANN. tit. 6, § 9-312(a) & 9-313(a).

                 26.      Here, the Plaintiffs admit that they have never had possession of the Underlying

         Loan Documents, see Compl. ¶ 43, which they allege were in Fund 3A’s possession, id. ¶ 75.

         Nor does the Complaint allege that any of the Plaintiffs filed a UCC-1 financing statement in

         Delaware naming Fund 3A as debtor. Accordingly, the Plaintiffs do not hold properly perfected

         security interests in the Underlying Loan Documents.

                 2.       The California Business & Professions Code Does Not Cure Plaintiffs’
                          Failure to Perfect Under Article 9

                 27.      The Complaint obliquely references the California Business and Professions Code

         (“Cal. B&P Code”), but does not explain how, if at all, it applies to this Adversary Proceeding.

         In their Objection to Committee Standing Motion, the Plaintiffs have suggested that their failure

         to properly perfect their security interests under Article 9 of the Delaware Uniform Commercial

         Code can be cured by section 10233.2 of the Cal. B&P Code and a Ninth Circuit case

         interpreting that section, Neilson v. Chang (In re First T.D. & Investment, Inc.), 253 F.3d 520

         (9th Cir. 2001). See Bankr. Docket No. 1625 at ¶¶ 5-9.




         10
                  See DEL. CODE ANN. tit. 6, §§ 9-102(a)(65) (definition of “promissory note”) & 9-102(a)(47) (definition of
         “instrument” as the terms is used in Article 9). Article 9 of the Delaware Uniform Commercial Code applies to any
         transaction that creates a security interest in personal property. Id. § 9-109(a)(1), (3).


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                  28.      As a threshold matter, Cal. B&P Code § 10233.2 expressly applies only “[f]or

         purposes of Division 3 … and Division 9 … of the Commercial Code.”11 Accordingly, it has no

         application for purposes of determining whether the Plaintiffs hold valid, perfected liens in real

         property. At most, Cal. B&P Code could theoretically—under circumstances entirely different

         from those alleged in the Complaint—cure the Plaintiffs’ failure to perfect their security interests

         in personal property (i.e., the Underlying Loan Documents). However, as explained below, Cal.

         B&P Code § 10233.2 has no bearing on whether the Plaintiffs are perfected as (i) the Plaintiffs’

         documents all explicitly contain Delaware choice of law provisions, and, (ii) under applicable

         law, Delaware law would apply even in the absence of such a choice of law provision.

         Additionally, even if the California statute were applicable, its requirements were plainly not met

         here.

                  29.      Cal. B&P Code § 10233.2 provides that as a matter of California law, if the

         criteria set forth in the statute are satisfied, then a lender may be deemed to hold a perfected

         security interest in promissory notes or collateral instruments and documents notwithstanding

         such lender’s lack of possession of the collateral. The statute provides:

                           For the purposes of Division 3 (commencing with Section 3101)
                           and Division 9 (commencing with Section 9101) of the
                           Commercial Code, when a broker, acting within the meaning of
                           subdivision (d) or (e) of Section 10131 or Section 10131.1, has
                           arranged a loan or sold a promissory note or any interest therein,
                           and thereafter undertakes to service the promissory note on behalf
                           of the lender or purchaser in accordance with Section 10233,
                           delivery, transfer, and perfection shall be deemed complete even if
                           the broker retains possession of the note or collateral instruments
                           and documents, provided that the deed of trust or an assignment of

         11
                  The peculiar terminology—use of division vs. article and the reference to the Commercial Code vs. the
         Uniform Commercial Code—mark the references as referring solely to California statutes. Cent. Cal. Equip. Co. v.
         Dolk Tractor Co., 144 Cal. Rptr. 367, 368 n.1 (Cal. App. 1978) (“[I]n California the code uses the term ‘division 9’
         and this opinion follows the terminology of ‘article 9’ as adopted by the National Conference of Commissioners on
         Uniform State Laws.”). Additionally, California’s legislature could not amend the Delaware UCC.


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                          the deed of trust or collateral documents in favor of the lender or
                          purchaser is recorded in the office of the county recorder in the
                          county in which the security property is located, and the note is
                          made payable to the lender or is endorsed or assigned to the
                          purchaser.

         Cal. B&P Code § 10233.2. In re First T.D. & Investment is the only published case that has

         cited Cal. B&P Code § 10233.2. On the facts present in that case, the elements of the statute

         were satisfied and the Ninth Circuit held that the lenders were perfected even in the absence of

         possession. 253 F.3d at 531.

                 30.      Here, neither Cal. B&P Code § 10233.2 nor In re First T.D. & Investment has any

         application. By its express terms, Cal. B&P Code § 10233.2 modifies the perfection rules of

         only the California Commercial Code. See Cal. B&P Code § 10233.2 (“For the purposes of

         Division 3 (commencing with Section 3101) and Division 9 (commencing with Section 9101) of

         the Commercial Code….”) (emphasis added). The California Commercial Code, however, is

         inapplicable for purposes of determining whether the Plaintiffs have perfected security interests.

         Not only do the Plaintiffs’ documents choose Delaware law,12 this state’s law would have to

         apply any way. Because Fund 3A is formed under Delaware law, the Delaware Uniform

         Commercial Code “governs perfection, the effect of perfection or nonperfection, and the priority

         of a security interest in collateral.” DEL. CODE ANN. tit. 6, § 9-301(1); see also CAL. COMM.

         CODE, § 9301(1) (same). Because the Delaware Uniform Commercial Code is the applicable

         law and is unaltered by Cal. B&P Code § 10233.2, the standard Uniform Commercial Code rules

         requiring perfection by possession or by the filing of a UCC-1 financing statement are fully

         applicable to the Plaintiffs. See DEL. CODE ANN. tit. 6, §§ 9-312(a) & 9-313(a). As noted, the

         Plaintiffs have not perfected by either of these means.
         12
                  All of the Noteholder Loan Documents attached to the Complaint state the parties’ intent and agreement
         that Delaware law shall govern. See Complaint, Exhs. 1 & 2.


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                31.     Even beyond the statute’s dispositive inapplicability, the Plaintiffs fail to satisfy

         multiple elements of the statute. In In re First T.D. & Investment, the Ninth Circuit divided Cal.

         B&P Code § 10233.2 into a five-element test:

                        (1) a “broker, acting within the meaning of” California Business
                        and Professions Code §§ 10131 or 10131.1 possesses the security
                        instrument; (2) the broker has “arranged a loan” or “sold a
                        promissory note or any interest therein”; (3) the broker “undertakes
                        to service the promissory note”; (4) the trust deed or collateral
                        documents in favor of the lender are “recorded in the office of the
                        county recorder in the county in which the security property is
                        located”; and (5) “the note is made payable to the lender or is
                        endorsed or assigned to the purchaser.”

         253 F.3d at 526 (quoting Cal. B&P Code § 10233.2).

                32.     Cal. B&P Code § 10233.2 plainly is intended to apply either where (1) a broker

         has arranged a loan for a third party where the third party is the lender and the broker’s role is as

         the loan servicer, or (2) the broker has sold a loan to a loan purchaser and the broker’s role is as

         the loan servicer. As neither of these fact patterns describes the Plaintiffs’ investment—here, the

         Plaintiffs assert that Fund 3A made the loan to Sturmer Pippin itself and, as noted, did not sell

         that loan to the Plaintiffs—it is unsurprising that many of the elements of Cal. B&P Code

         § 10233.2 are not met. Below are two of the more obvious examples.

                33.     First, the statute applies only where “a broker, acting within the meaning of

         subdivision (d) or (e) of Section 10131 or Section 10131.1, … retains possession of the note or

         collateral instruments and documents.” Cal. B&P Code § 10233.2 (emphasis added). Section

         10012 of the Cal. B&P Code, which appears in Part 1 of Division 4 of the Cal. B & P Code

         (denominated, respectively, “Licensing of Persons” and “Real Estate”), provides that “[b]roker,

         when used without modification, means a person licensed as a broker under any of the




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         provisions of this part.” Cal. B&P Code § 10012 (emphasis added).13 The relevant “part” runs

         from Cal. B & P Code § 10000 through § 10580. Therefore, when Cal. B&P Code § 10233.2

         refers to “a broker,” it necessarily means a California licensed real estate broker, not “a broker”

         in any generic or colloquial sense. See Neilson v. Dwyer (In re Cedar Funding, Inc.), 2011

         Bankr. LEXIS 3487, at *28 (Bankr. N.D. Cal. Sept. 12, 2011) (“The court disagrees with the

         Chapter 11 Trustee’s [Cal. B&P Code] analysis for the simple reason that no evidence has been

         offered demonstrating that CFI was a licensed broker. Section 10233.2 only applies to ‘brokers,’

         which [Cal. B&P Code] §10012 defines as a ‘licensed’ broker.”). Although the Plaintiffs make

         the conclusory allegation that “[p]ursuant to the California Code of Business and Professions,

         Fund 3A acted as a ‘broker,’” see Compl. ¶ 77, which this Court need not accept as true, see

         Iqbal, 556 U.S. at 678, the Plaintiffs do not allege that Fund 3A was a licensed real estate broker

         within the meaning of the statute, and in fact it was not. See Stern Decl. ¶ 3 & Exs. B & C.14

                  34.      Second, a mandatory element of Cal. B&P Code § 10233.2 is that the broker must

         “undertake[] to service the promissory note on behalf of the lender or purchaser in accordance

         with Section 10233.” Section 10233, in turn, requires, inter alia, a “written authorization from

         the borrower, the lender, or the owner of the note or contract, that is included within the terms of

         a written servicing agreement that satisfies [certain requirements set forth in Cal. B&P Code

         § 10238].” Cal. B&P Code § 10233(a) (emphasis added). In In re First T.D. & Investment, this

         element was undisputed; the broker-debtor had entered into a “Servicing Agreement” with each


         13
                  Moreover, Cal. B&P Code § 10233.2 requires that the broker “undertakes to service the promissory note …
         in accordance with Section 10233.” Section 10233, in turn, applies only to “[a] real estate licensee who undertakes
         to service a promissory note.” Cal. B&P Code § 10233 (emphasis added).
         14
                  Exhibits B and C to the Stern Declaration are printouts of the results of searches of the California Bureau of
         Real Estate’s (“CBRE”) online database of licensed real estate brokers. Exhibits B and C show that Fund 3A is not
         a licensed broker. The Court may take judicial notice of the CBRE search results under Rule 201 of the Federal
         Rules of Evidence. Cf. LDK Solar, 584 F. Supp. 2d at 1240; Silver Dollar, 388 B.R. at 329.


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         investor that authorized the broker-debtor, acting as “servicing agent,” to collect all loan

         payments from borrowers and to take other actions necessary or convenient to servicing of the

         note. 253 F.3d at 524. Here, the Plaintiffs do not allege the existence of any written servicing

         agreements, and in fact admitted in their Objection to Committee Standing Motion that they

         cannot satisfy this element of the statute. See Bankr. Docket No. 1625, ¶ 8 (acknowledging that

         “not all the criteria of [Cal B&P Code §] 10233 were met”).

                35.      For the foregoing reasons, either of which is sufficient to defeat application of

         Cal. B&P Code § 10233.2 (even if that statute were otherwise applicable), Cal. B&P Code

         § 10233.2 does not cure the Plaintiffs’ failure to properly perfect their alleged security interests

         in the Underlying Loan Documents.

         C.     Count III Must Be Dismissed Because Plaintiffs Do Not Plausibly Allege a
                Constructive Trust Over or Equitable Lien in the Owlwood Property

                36.      Count III of the Complaint seeks a declaration that the Plaintiffs have a lien in the

         Owlwood Property or the proceeds thereof pursuant to one of the Plaintiffs’ two fallback

         theories: constructive trust or equitable lien. As explained below, the equitable remedies sought

         by the Plaintiffs fail as a matter of law under both state law and bankruptcy law.

                1.       The Plaintiffs Fail to State Plausible Claims Under Applicable Non-
                         Bankruptcy Law

                         a.      The Constructive Trust Claim Fails as a Matter of State Law

                37.      The Plaintiffs allege that they “have a first-in-priority, valid security interests [sic]

         in the Owlwood [Property], and/or the proceeds derived from the sale and/or liquidation of same

         pursuant to the doctrine of constructive trust.” Compl. ¶ 98; see also Prayer For Relief

         (requesting judgment declaring that “Plaintiffs hold a constructive trust over the Owlwood

         [Property] and/or the proceeds derived from the sale and/or liquidation of the Owlwood

         [Property]”).
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                  38.      Under California law,15 “[a] constructive trust is an involuntary equitable trust

         created as a remedy to compel the transfer of property from the person wrongfully holding it to

         the rightful owner.” In re Real Estate Assocs. P’ship Litig., 223 F. Supp. 2d 1109, 1140 (C.D.

         Cal. 2002). “A constructive trust is not a substantive device but merely a remedy to compel a

         person not justly entitled to property to transfer it to another who is entitled thereto . . . .” Davies

         v. Krasna, 535 P.2d 1161, 1170 (Cal. 1975) (emphasis in original).16 California has codified its

         constructive trust doctrine in section 2224 of the Civil Code, which provides: “One who gains a

         thing by fraud, accident, mistake, undue influence, the violation of a trust, or other wrongful act,

         is, unless he or she has some other and better right thereto, an involuntary trustee of the thing

         gained, for the benefit of the person who would otherwise have had it.” CAL. CIV. CODE

         § 2224.17

                  39.      Here, the Plaintiffs fail to state a claim upon which the constructive trust remedy

         can be granted under state law. A party asserting a constructive trust over property under

         California law “bears the burden of ‘tracing the alleged trust property specifically and directly’

         back to the act that created the trust.” True Traditions, LC v. Wu, 552 B.R. 826, 840 (N.D. Cal.

         2015) (quoting In re Advent Mgmt. Corp., 104 F.3d 293, 295 (9th Cir. 1997)); see also Fowler v.

         Fowler, 39 Cal. Rptr. 101, 105 (Ct. App. 1964) (in action to impose constructive trust on

         defendant’s property, plaintiff had burden of proving that money deposited by her in their joint

         15
                  The Plaintiffs do not clarify whether they seek imposition of a constructive trust under California or
         Delaware law. Accordingly, where appropriate, the Debtors cite the law of both states. For purposes of the Motion,
         it makes no difference which state’s constructive trust law applies, as the constructive trust laws of California and
         Delaware are substantially similar in all respects material to the Motion.
         16
                  See also Hogg v. Walker, 622 A.2d 648, 652 (Del. 1993) (“The doctrine of constructive trust . . . is an
         equitable remedy . . . and is viewed as a remedial [and] not a substantive institution.” (citation and internal quotation
         marks omitted)).
         17
                  Under Delaware law, the test for imposition of a constructive trust is: “When one party, by virtue of
         fraudulent, unfair or unconscionable conduct, is enriched at the expense of another to whom he or she owes some
         duty, a constructive trust will be imposed.” Hogg, 622 A.2d at 652.


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         account was invested in property, and she failed to meet burden where there was no evidence

         concerning expenditure of money by defendant).18 See also RESTATEMENT OF THE LAW 3D,

         RESTITUTION AND UNJUST ENRICHMENT, § 55 cmt. g (3rd 2011) (“Constructive trust permits the

         claimant to assert ownership of (i) specifically identifiable property for which the defendant is

         liable in restitution or (ii) its traceable product…. A claimant who can show unjust enrichment,

         but who cannot identify such property in the hands of the defendant, is not entitled to the remedy

         of constructive trust. This fundamental limitation, commonly referred to as the ‘tracing

         requirement,’ applies in one form or another to all the principal means of specific relief in

         restitution (constructive trust, equitable lien, subrogation).”).19

                  40.      The Complaint fails to properly plead that their money can be traced to the

         Owlwood Property. The Plaintiffs conspicuously fail to allege that the funds allegedly provided

         by them were actually (i) loaned by Fund 3A to Sturmer Pippin, and, in turn, (ii) used by Sturmer

         Pippin to purchase the Owlwood Property. The Plaintiffs allege that they made loans to Fund 3A

         “for the stated purpose” of funding a loan from Fund 3A to Sturmer Pippin, see Compl. ¶¶ 57-58,

         but the Plaintiffs do not allege that Fund 3A actually used the funds consistently with this “stated


         18
                   Delaware law is in accord. See, e.g., B.A.S.S. Group, LLC v. Coastal Supply Co., 2009 Del. Ch. LEXIS
         166, at *30 (Del. Ch. June 19, 2009) (“A constructive trust may be imposed upon specific property [or] identifiable
         proceeds of specific property, and even money so long as it resides in an identifiable fund to which the plaintiff can
         trace equitable ownership. If the unjustly obtained funds can be traced into specific property, then a constructive
         trust can be imposed on the property . . . .” (citation, internal quotation marks, and footnote omitted)); Pike v.
         Commodore Motel Corp., 1986 Del. Ch. LEXIS 485, at *13 (Del. Ch. Nov. 14, 1986) (“The converted property
         must then be traced to the specific assets into which Pike’s distributive share was converted, a constructive trust
         being then imposed upon those traced assets….”).
         19
                   One of the illustrations following the quoted comment is particularly on-point: “Swindler deposits forged
         checks with Bank and withdraws $ 250,000 before his activities are detected and Swindler files for bankruptcy. The
         assets in the hands of the bankruptcy trustee include $ 30,000 in cash (wrapped and dated by Bank’s tellers) that
         Swindler withdrew from Bank on the day before his accounts were closed. Bank is unable to show what became of
         the remaining $ 220,000. Bank has a claim against Swindler in restitution (among other theories) to recover
         $ 250,000 plus interest (§§ 13, 41). Bank is also entitled to the remedy of constructive trust, but only with respect
         to the $ 30,000 that Bank can identify. Swindler’s trustee holds the $ 30,000 in constructive trust for Bank, and
         Bank has an unsecured claim against Swindler for $ 220,000.” Id. ¶ 16 (emphasis added).


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         purpose.” Indeed, the Complaint contains no allegations whatsoever regarding how the Debtors

         actually used or disposed of the funds they received from the Plaintiffs, and does not establish

         any nexus between the Plaintiffs’ money and the Owlwood Property.20 Absent allegations that

         the Plaintiffs’ funds can be “specifically and directly” traced to the Owlwood Property, the

         Plaintiffs cannot meet their burden to establish a constructive trust over the Owlwood Property

         and Count III must fail as a matter of law. Plaintiffs’ inability to allege that their money was

         actually channeled into the Owlwood Property is consistent with the Committee Standing

         Motion, which summarizes how the Woodbridge entities regularly commingled investor funds

         and used funds in a manner contrary to representations made to investors. In light of the

         Debtors’ widespread commingling, there is no amendment to the Complaint that can cure the

         Plaintiffs’ inability to allege the “specific and direct” tracing required to establish a constructive

         trust over the Owlwood Property.

                  41.      To the extent the Complaint could be construed to assert a constructive trust over

         the Underlying Loan Documents (as opposed to the real property itself),21 such claim fails for the

         same reason. The Plaintiffs do not allege that their funds were actually loaned by Fund 3A to

         Sturmer Pippin, nor do they allege any other nexus between their money and the origination of

         the Underlying Loan Documents. Accordingly, the facts as pled do not meet Plaintiffs’ burden

         to establish “specific and direct” tracing.




         20
                  Paragraphs 37-39 of the Complaint describe “typical transactions” in which investor funds were generally
         used to purchase properties, but the Complaint contains no specific allegation that the Plaintiffs’ funds were actually
         used to acquire the Owlwood Property.
         21
                  Even under the most charitable reading of the Complaint, it does not seek imposition of a constructive trust
         over or equitable lien in the Underlying Loan Documents. Nevertheless, solely to demonstrate the futility of
         amending the Complaint, and with a full reservation of rights, this Part V.C assumes, arguendo, that the Plaintiffs
         seek such equitable remedies with respect to the Underlying Loan Documents.


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                        b.      The Equitable Lien Claim Fails as a Matter of State Law

                42.     The Plaintiffs’ equitable lien theory fares no better than their request for

         imposition of a constructive trust. Whereas a constructive trust is a remedy to compel the person

         in possession of wrongfully acquired property to return the property to its rightful owner, In re

         Real Estate Assocs., 223 F. Supp. 2d at 1140, imposition of an equitable lien subjects the

         property to a lien but does not require any transfer of the property. “An equitable lien is a right

         to subject property not in the possession of the lienor to the payment of a debt as a charge against

         that property.” Cnty. of Los Angeles v. Constr. Laborers Trust Funds for S. Cal. Admin. Co., 39

         Cal. Rptr. 3d 917, 920 (Ct. App. 2006) (quoting 42 CAL. JUR. 3D Liens § 10). “It may arise from

         a contract which reveals an intent to charge particular property with a debt or out of general

         considerations of right and justice as applied to the relations of the parties and the circumstances

         of their dealings.” Id. (citation and internal quotation marks omitted).

                        43.     “To succeed on their claim for an equitable lien as a matter of law,

         plaintiffs must establish that 1) they have no adequate remedy at law, 2) [Fund 3A] is indebted to

         plaintiffs, 3) there is identifiable property against which the debt could be charged, and 4) all

         parties to the transaction intended that the identified property would serve as security for the

         debt.” Rollins v. Neilson (In re Cedar Funding, Inc.), 408 B.R. 299, 313 (Bankr. N.D. Cal.)

         (emphasis added) (citing 51 AM. JUR. 2D Liens § 34). In addition, the Plaintiffs “may seek

         restitution in equity, ordinarily in the form of a constructive trust or an equitable lien,” only if

         they can show that “money or property identified as belonging in good conscience to the plaintiff

         can clearly be traced to [the Owlwood Property].” Pell v. E.I. DuPont de Nemours & Co. Inc.,

         539 F.3d 292, 309 (3d Cir. 2008) (emphasis added); Holder v. Williams, 334 P.2d 291, 292 (Cal.

         Ct. App. 1959) (noting that the “basic purpose[]” of an equitable lien is “to identify and impress


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         upon certain property the beneficial rights that have arisen in an innocent party who in some way

         contributed to the acquisition, protection or improvement of that property” (emphasis added)).

                44.     Here, the Plaintiffs’ request to impose an equitable lien on the Owlwood Property

         fails because, inter alia, the Complaint does not plausibly allege that all parties to the transaction

         intended that the Owlwood Property would secure Fund 3A’s debt to the Plaintiffs. Although the

         Plaintiffs make the conclusory assertion that the Plaintiffs believed—and were told by Fund

         3A—that “the [Plaintiff] Loans would be secured against the Owlwood Estate” and “they would

         hold first position liens on the Owlwood Estate,” Compl. ¶¶ 73-74, such assertions are flatly

         contradicted by more specific portions of the Complaint and the documents attached thereto.

         Paragraph 61 of the Complaint states that the collateral for the Noteholder Loans is the

         Underlying Loan Documents. The collateral does not include the Owlwood Property. This is

         consistent with the documents attached to the Complaint, which purport to grant the Plaintiffs a

         security interest in the Underlying Loan Documents, but not the Owlwood Property itself. Had

         all parties intended for the Plaintiffs to receive liens in real property, the parties’ documents

         would reflect that intent.

                45.     The Plaintiffs’ equitable lien theory suffers from another fundamental defect. As

         with their constructive trust claim, the claim fails because the Plaintiffs have not adequately pled

         tracing. “The equitable lien of the beneficiary depends upon his being able to trace the trust

         property into the particular property against which he seeks to enforce the trust, or a

         commingling with the fund upon which he asserts his lien. Some degree of identification with

         the property which he seeks to subject to his claim is essential.” Walsh v. Majors, 49 P.2d 598,

         606 (Cal. 1935). As noted above, the Complaint does not (because it cannot) allege that the

         Plaintiffs’ funds were actually channeled into the Owlwood Property. Absent any factual nexus


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         between the Plaintiffs’ funds and the property on which they seek to impose an equitable lien,

         Count III of the Complaint must be dismissed. See, e.g., Pell, 539 F.3d at 309; see also Rollins,

         408 B.R. at 316; RESTATEMENT OF THE LAW 3D, RESTITUTION AND UNJUST ENRICHMENT, § 58

         cmt. e (3rd 2011) (“[T]he embezzlement victim who seeks restitution (via constructive trust or

         equitable lien) from property acquired with embezzled funds must satisfy the trier of fact that the

         embezzler was using stolen funds when he purchased the property in question.”); id. § 55.

                46.     Similarly, even assuming, arguendo, that the Complaint could be construed to

         assert an equitable lien in the Underlying Loan Documents (it does not), that claim, too, would

         fail for inability to plead tracing. As noted, the Complaint does not allege any facts regarding the

         Debtors’ actual use of the Plaintiffs’ funds, much less any link between the funds and the

         Underlying Loan Documents. Accordingly, there is no plausible basis under state law for an

         equitable lien in the Underlying Loan Documents.

                2.      Bankruptcy Law Precludes Application of the Equitable Remedies Sought by
                        Plaintiffs

                        a.      The Constructive Trust Claim is Not Viable in Bankruptcy

                47.     Even assuming, arguendo, that the Plaintiffs could state a plausible constructive

         trust claim under state law (they cannot), Count III nevertheless must be dismissed because the

         constructive trust claim fails as a matter of federal bankruptcy law. The Third Circuit Court of

         Appeals recently concluded that “under the unique rules of bankruptcy, a debtor’s estate is

         deemed to include fraudulently obtained property, so long as the property was not impressed

         with a constructive trust prior to the commencement of the bankruptcy proceeding.” Singh v.

         Att’y Gen. of the United States, 677 F.3d 503, 516 n.16 (3d Cir. 2012). The Third Circuit noted

         that “[t]he inclusion of fraudulently obtained property in the debtor’s estate is not for the debtor’s

         benefit. … It is designed, instead, to ensure equal treatment of creditors, each of whom has

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         suffered disappointed expectations at the hands of the debtor.” Id. (internal quotation marks and

         citation omitted). The court approvingly cited XL/Datacomp v. Wilson (In re Omegas Group,

         Inc.), 16 F.3d 1443 (6th Cir. 1994), in which the Sixth Circuit reasoned that “[c]onstructive trusts

         are anathema to the equities of bankruptcy since they take from the estate, and thus directly from

         competing creditors, not from the offending debtor,” id. at 1452.

                 48.    Here, the Plaintiffs do not allege that the Owlwood Property, the proceeds thereof,

         or the Underlying Loan Documents were impressed with a constructive trust prior to the petition

         date. Indeed, the Complaint requests that this Court impose a postpetition constructive trust.

         The Plaintiffs’ belated attempt to take from the estate at the expense of other creditors who have

         similarly “suffered disappointed expectations at the hands of the [Debtors],” Omegas, 16 F.3d at

         1452, necessarily fails under the Third Circuit’s decision in Singh.

                 49.    Even if Singh did not bar the constructive trust remedy as a matter of law (it

         does), the claim is nevertheless futile for the independent reason that the Plaintiffs’ unrecorded

         constructive trust is subject to avoidance under section 544(a) of title 11 of the United States

         Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”). Section 544(a) provides, in pertinent

         part:

                        (a) The trustee shall have, as of the commencement of the case, and
                        without regard to any knowledge of the trustee or of any creditor, the
                        rights and powers of, or may avoid any transfer of property of the debtor
                        or any obligation incurred by the debtor that is voidable by—

                                (1) a creditor that extends credit to the debtor at the time of the
                                commencement of the case, and that obtains, at such time and with
                                respect to such credit, a judicial lien on all property on which a
                                creditor on a simple contract could have obtained such a judicial
                                lien, whether or not such a creditor exists; [or]

                                                          *       *       *

                                (3) a bona fide purchaser of real property, other than fixtures, from
                                the debtor, against whom applicable law permits such transfer to
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                                be perfected, that obtains the status of a bona fide purchaser and
                                has perfected such transfer at the time of the commencement of the
                                case, whether or not such a purchaser exists.

         11 U.S.C. § 544(a).

                 50.    The Plaintiffs do not allege that they recorded their alleged constructive trust over

         the Owlwood Property. Accordingly, even assuming that the Plaintiffs could plausibly allege a

         constructive trust over the property (they cannot), such interest is avoidable under section

         544(a)(3), as a bona fide purchaser of the Owlwood Property would take the property free and

         clear of such unrecorded interest under California law. See In re Tleel, 876 F.2d 769, 771-72

         (9th Cir. 1989) (“Even if it is assumed that Chbat’s interest could qualify for a constructive trust,

         the Trustee, as a bona fide purchaser of the Property, had no actual or constructive notice of

         Chbat’s alleged interest under California law. Therefore, the Trustee could take priority over

         Chbat’s [constructive trust] interest.”); Mullins v. Burtch (In re Paul J. Paradise & Assocs.), 249

         B.R. 360, 372 (D. Del. 2000) (“Therefore, because § 544(a)(3) provides the Trustee with the

         rights and powers of a bona fide purchaser, the Trustee holds Lot 33 for the benefit of the estate,

         free from any asserted constructive trust interest of Mullins.”). Accordingly, the Owlwood

         Property is property of the estate and is not subject to any constructive trust in favor of the

         Plaintiffs.

                 51.    Similarly, even if the Complaint could be construed to assert a constructive trust

         over the Underlying Loan Documents (it does not), that interest is avoidable under section

         544(a)(1) because the Plaintiffs did not file UCC-1 financing statements to perfect such interest,

         and under the law of either California or Delaware, a hypothetical judicial lien creditor would

         prevail over the Plaintiffs’ unrecorded equitable interest. See, e.g., Wallace v. Bonner (In re

         Bonner), 2014 Bankr. LEXIS 896, at *17-18 (B.A.P. 9th Cir. Mar. 6, 2014) (applying California

         law and concluding that “[e]ven if Wallace was entitled to an equitable lien [in equipment and
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         accounts receivable] and was granted one by the bankruptcy court, it would still be subordinate

         to [the trustee’s] interest as a hypothetical judgment lien creditor and avoidable”); In re

         Charlton, 389 B.R. 97, 104 (Bankr. N.D. Cal. 2008) (“Under California law, the rights of a

         judgment lien creditor are superior to those of a party that later obtains an order retroactively

         imposing a constructive trust.”); DEL. CODE ANN. tit. 6, § 9-317(a)(2) (unperfected security

         interest is subordinate to the rights of a judicial lien creditor).

                         b.      The Equitable Lien Claim is Not Viable in Bankruptcy

                 52.     Like constructive trusts, equitable liens “are anathema to the equities of

         bankruptcy since they take from the estate, and thus directly from competing creditors, not from

         the offending debtor.” Omegas, 16 F.3d at 1452. Accordingly, under Singh, even if the

         Owlwood Property or its proceeds were “fraudulently obtained,” such property is nevertheless

         property of the estate, unencumbered by any alleged equitable lien that was not “impressed . . .

         prior to the commencement of the bankruptcy proceeding.” Singh, 677 F.3d at 516 n.16.

         Because the Plaintiffs do not and cannot allege that they obtained a judgment impressing an

         equitable lien prior to the Debtors’ petition date, Count III fails as a matter of law under Singh.

                 53.     Moreover, the Plaintiffs do not allege that they recorded their alleged equitable

         liens in the real property records. Thus, even if Singh did not bar the remedy (it does) and even

         if the Plaintiffs were able to satisfy the standard for imposition of an equitable lien on the

         Owlwood Property under state law (they are not), any such lien would be avoidable under

         Bankruptcy Code section 544(a)(3), for the reasons set forth above in the discussion of

         constructive trusts. See Midlantic Nat’l Bank v. Bridge (In re Bridge), 18 F.3d 195, 200 (3d Cir.

         1994) (holding that an equitable lien on real property is avoidable under section 544(a)(3) if,

         under applicable state law, a bona fide purchaser would take free and clear of unrecorded

         equitable lien interest); First Fidelity Thrift & Loan Ass’n v. Alliance Bank, 71 Cal. Rptr. 2d 295,
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         300 (1998) (good faith encumbrancer for value who first records takes interest free and clear of

         unrecorded interests (citing CAL. CIV. CODE § 1214)); Sywilok v. IRS (In re Gianninoto), 539

         B.R. 452, 462 (Bankr. D.N.J. 2015) (“Count Two, which seeks to create an equitable lien in

         favor of Chase, is dismissed, as even if an equitable lien were created it would not withstand the

         trustee’s avoidance powers under § 544(a).”).

                 54.     Nor could any equitable lien in the Underlying Loan Documents (to the extent

         Plaintiffs even assert one) withstand avoidance under section 544(a)(1) because the Plaintiffs did

         not file UCC-1 financing statements to perfect such interest. As noted above in the discussion of

         constructive trusts, a hypothetical judicial lien creditor would prevail over the Plaintiffs’

         unrecorded equitable interest in the Underlying Loan Documents under the law of either

         California or Delaware. See, e.g., Bonner, 2014 Bankr. LEXIS 896, at *17-18 (applying

         California law and concluding that “[e]ven if Wallace was entitled to an equitable lien [in

         equipment and accounts receivable] and was granted one by the bankruptcy court, it would still

         be subordinate to [the trustee’s] interest as a hypothetical judgment lien creditor and avoidable”);

         In re Charlton, 389 B.R. at 104; DEL. CODE ANN. tit. 6, § 9-317(a)(2) (unperfected security

         interest is subordinate to the rights of a judicial lien creditor).

                 55.     Further, numerous bankruptcy courts have declined to impose the equitable

         remedy of an equitable lien where the creditor seeking such lien “could have insisted on the

         receipt of a signed financing statement as a condition to advancing the debtor funds.” Webster v.

         Lazin (In re Millennium Prods., Inc.), 2002 Bankr. LEXIS 621, at *10 (Bankr. D.D.C. June 11,

         2002) (citing Small v. Beverly Bank, 936 F.2d 945, 950 (7th Cir. 1991); In re Einoder, 55 B.R.

         319, 328 (Bankr. N.D. Ill. 1985)). Here, too, the Plaintiffs could have perfected their alleged

         security interest in the Underlying Loan Documents by filing financing statements with the


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         Delaware Secretary of State. The Plaintiffs’ failure to take this simple act precludes them from

         invoking this Court’s equity jurisdiction. See, e.g., In re Rettig, 32 B.R. 523, 524-25 (Bankr. D.

         Del. 1983) (“The application of the equitable lien doctrine is appropriate only if the creditor has

         done everything within its power to perfect its lien but is prevented from doing so as the result of

         debtor’s improper behavior.”).

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                                                 CONCLUSION

                  WHEREFORE, the Debtors respectfully request that the Court enter an order,

         substantially in the form attached to the Motion, dismissing the Complaint with prejudice and

         granting such other and further relief as may be just and proper under the circumstances.




         Dated:     June 18, 2018               /s/ Ian J. Bambrick_                  .
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